                                                                                          _______________



    Case 2:18-cv-03654-SDW-CLW Document 12 Filed 07/31/18 Page 1 of 2 PageID: 35




I
                  UNITED s’VThs DISTRICT COURT
                  DISTRIC NEW JERSEY

                  ROBERTA DANZA,
                                                                         Case No.: 2:1 8-cv-03654-SDW-
                                                                         CLW
                                                    Plainttff,       :      -




                                        -against
                                                                         STIPULATION O
                 PLANNED FURNITURE PROMOTIONS, INC.                      DISMISSAL WITH
                 and WAGE SOLUONS, INC.,                                 PItE,JVDICE
                                                   Defendants.

                                                                    x

                        WHEREAS, no party to the above action is an infant, an        incompetent person for whom a

                committee. has been appointed or conservatee and rio person not a party has an interest in the subject
                matter of the action;

                        IT IS HEREBY STIPULATED AND AGREED, by and between the. undersigned counsel
               -for Plaintiff and Defendants that this action shall be, and hereby is, 1ismlssed In its entirety with
                prejudice, each party bearing its own costs and expenses.
                        This Stipulation niny be signed in counterparts, and facsimile signatures will constitute
               orig.inais for the purpose of this Stipulation.
               Dated:                   I.w York


               By:                                                  By:
              Jason T, ‘rown                                        Jeffrey Berkowitz                  C
              JTB Law Group, LLC                                    66 Route 17 North, Suite 500
               155 2” Street, Suite 4                               Paramus, NJ 07652
              Jersey City, NJ 07302                                 (201) 292-8660
              (877) 561-0000                                        Pa,c: (20!) 291-8662
              fax: (855) 582-5297                                   Counsel to Plan,’ed Fw,tit:tre Promotions; Inc.




              David B, Strand
              Fisher Phillips LLP
              430 Mountain Avenue, Suite 303
              Murray Hill, NJ 07974
              (902)516-1066




                                                                                Doe JD:
Case 2:18-cv-03654-SDW-CLW Document 12 Filed 07/31/18 Page 2 of 2 PageID: 36




             Pax: (908)516-1051
             Counsel o Wage Solutions, Inc.




                                              Page 10 of 10

                                                              boo ID: 580I36d49ab200692a29o1 144b17$Q3bad41eQf
